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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                          Chapter 11

PURDUE PHARMA L.P., et al.,                                     Case No. 19-23649 (RDD)

                  Debtors.1                                     (Jointly Administered)


    OMNIBUS ORDER GRANTING THIRD INTERIM FEE APPLICATIONS OF
 PROFESSIONALS FOR ALLOWANCE AND PAYMENT OF COMPENSATION FOR
   PROFESSIONAL SERVICES RENDERED AND FOR REIMBURSEMENT OF
                 ACTUAL AND NECESSARY EXPENSES

         Upon consideration of each of the applications (each, an “Application” and collectively,

the “Applications”) filed by those professionals identified on Schedule A hereto (each, an

“Applicant” and collectively, the “Applicants”), pursuant to sections 327, 328, 330 and 331 of

title 11 of the United States Code (the “Bankruptcy Code”) and Rule 2016 of the Federal Rules

of Bankruptcy Procedure (the “Bankruptcy Rules”), seeking allowance of interim compensation

for professional services rendered and reimbursement of actual and necessary expenses incurred

from June 1, 2020 (or the effective date of retention) through and including September 30, 2020

(the “Fee Period”) in connection therewith; and an independent fee examiner (the “Fee

Examiner”) having been appointed in these cases in accordance with the Order Authorizing

Appointment of Independent Fee Examiner Pursuant to 11 U.S.C. § 105(a) and Modifying



1
  The Debtors in these cases, along with the last four digits of each Debtor’s registration number in the applicable
jurisdiction, are as follows: Purdue Pharma L.P. (7484), Purdue Pharma Inc. (7486), Purdue Transdermal
Technologies L.P. (1868), Purdue Pharma Manufacturing L.P. (3821), Purdue Pharmaceuticals L.P. (0034), Imbrium
Therapeutics L.P. (8810), Adlon Therapeutics L.P. (6745), Greenfield BioVentures L.P. (6150), Seven Seas Hill Corp.
(4591), Ophir Green Corp. (4594), Purdue Pharma of Puerto Rico (3925), Avrio Health L.P. (4140), Purdue
Pharmaceutical Products L.P. (3902), Purdue Neuroscience Company (4712), Nayatt Cove Lifescience Inc. (7805),
Button Land L.P. (7502), Rhodes Associates L.P. (N/A), Paul Land Inc. (7425), Quidnick Land L.P. (7584), Rhodes
Pharmaceuticals L.P. (6166), Rhodes Technologies (7143), UDF L.P. (0495), SVC Pharma L.P. (5717) and SVC
Pharma Inc. (4014). The Debtors’ corporate headquarters is located at One Stamford Forum, 201 Tresser Boulevard,
Stamford, CT 06901.
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Interim Compensation Procedures for Certain Professionals Employed Pursuant to 11 U.S.C. §

327 [ECF No. 1023] (the “Fee Examiner Order”); and the Fee Examiner having reviewed the

Applications in accordance with the Fee Examiner Order; and the Fee Examiner and each

Applicant having agreed to the recommended fee and expense reductions as set forth on

Schedule A hereto; and the Fee Examiner having no objection to the interim allowance and

payment of each Applicant’s fees and expenses in the amounts set forth on Schedule A hereto

under the column headings “Fees Allowed for Third Interim Fee Application” and “Expenses

Allowed for Third Interim Fee Application”; and the total amount of each Applicant’s fees and

expenses sought in the Fee Period together with the amounts allowed pursuant to prior Fee

Applications being set forth on Schedule B hereto; and due and proper notice having been

provided pursuant to Bankruptcy Rules 2002(a)(6) and (c)(2) and the Order Authorizing

Procedures for Interim Compensation and Reimbursement of Expenses for Retained

Professionals [ECF No. 529], and it appearing that no other or further notice need be provided;

and there being no objections to the relief granted herein; and a hearing having been held on

December 15, 2020 to consider the Applications (the “Hearing”); and the Court having

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157(a)-(b) and 1334(b) and the Amended

Standing Order of Reference M-431, dated January 31, 2012 (Preska, C.J.); and this matter being

a core proceeding under 28 U.S.C. § 157(b); and venue being proper before the Court pursuant to

28 U.S.C. §§ 1408 and 1409; and upon the record of all of the proceedings had before the Court,

including the Court’s instructions that the Fee Examiner consider and address the issues raised

by the Court at the Hearing regarding the requested fees and expenses for the Fee Period when
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reviewing the Applicants’ requests for allowance of final compensation and reimbursement; and

good and sufficient cause appearing for the relief granted hereby,

        IT IS HEREBY ORDERED THAT:

        1.      The Applications are granted as set forth on Schedule A hereto.

        2.      The Applicants are awarded, on an interim basis, (a) compensation for

professional services rendered during the Fee Period and (b) reimbursement for actual and

necessary expenses incurred by the Applicants, in the amounts set forth under the column

headings “Fees Allowed for Third Interim Fee Application” and “Expenses Allowed for Third

Interim Fee Application” on Schedule A hereto.

        3.      The Debtors are authorized and directed to pay the Applicants promptly the

amounts of fees and expenses approved by this Order and set forth under the column headings

“Fees Allowed for Third Interim Fee Application” and “Expenses Allowed for Third Interim Fee

Application” on Schedule A hereto, to the extent such amounts have not previously been paid.

        4.      This Order is a separate order for each Applicant and the appeal of any order with

respect to any Applicant shall have no effect on the allowed fees and expenses of the other

Applicants.

        5.      This Court shall retain jurisdiction to hear and determine all matters arising from

or related to this Order.

Dated: December 16 , 2020
       White Plains, New York
                                                   /s/Robert D. Drain
                                                   HONORABLE ROBERT D. DRAIN
                                                   UNITED STATES BANKRUPTCY JUDGE
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                                                                        Schedule A

                                     Interim Fee Applications: June 1, 2020 through September 30, 2020

 Case No: 19-23649 (RDD)
 Case Name: In re Purdue Pharma L.P., et al.

                                              Fees Requested         Expenses            Agreed             Agreed                         Expenses
                       Date and Docket                                                                                 Fees Allowed for
                                                 on Third          Requested on       Recommended        Recommended                      Allowed for
     Applicant           Number of                                                                                      Third Interim
                                               Interim Fee         Third Interim       Reduction of       Reduction of                   Third Interim
                         Application                                                                                   Fee Application
                                               Application        Fee Application         Fees2            Expenses 2                   Fee Application
                                                                    Debtors’ Professionals

                         Nov. 16, 2020
 PJT Partners LP                                  $900,000.00           $2,015.31                $0.00              $0.00        $900,000.00           $2,015.31
                         ECF No. 1971
     Cornerstone         Nov. 16, 2020
                                                $1,474,818.00             $591.47          $21,916.35               $0.00      $1,452,901.65             $591.47
      Research           ECF No. 1986
 Davis Polk &            Nov. 16, 2020
                                               $30,809,735.00         $153,971.26          $98,729.50             $368.70     $30,711,005.50         $153,602.56
 Wardwell LLP            ECF No. 1994
                         Nov. 16, 2020
AlixPartners, LLP                               $3,969,661.00             $659.36          $53,720.03             $115.35      $3,915,940.97             $544.01
                         ECF No. 1977
 Arnold & Porter         Nov. 13, 2020
                                                  $456,899.19             $275.00                $0.00              $0.00        $456,899.19             $275.00
Kaye Scholer LLP         ECF No. 1941
King & Spalding          Nov. 16, 2020
                                                $6,959,667.27             $133.10          $17,009.33               $0.00      $6,942,657.94             $133.10
     LLP                 ECF No. 1965

     KPMG LLP3           Nov. 11, 2020            $650,638.50                $0.00          $8,500.00               $0.00        $642,138.50                $0.00


 2
   This represents the recommendation of the Fee Examiner and the applicable professional after submission of the Fee Examiners Report mutual consideration of
 the Fee Examiner's concerns.
 3
   KPMG LLP has been jointly retained by the Debtors and the Official Committee of Unsecured Creditors.
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                                                  Fees Requested         Expenses            Agreed          Agreed                         Expenses
                           Date and Docket                                                                              Fees Allowed for
                                                     on Third          Requested on       Recommended     Recommended                      Allowed for
      Applicant              Number of                                                                                   Third Interim
                                                   Interim Fee         Third Interim       Reduction of    Reduction of                   Third Interim
                             Application                                                                                Fee Application
                                                   Application        Fee Application         Fees2         Expenses 2                   Fee Application
                             ECF No. 1921


                             Nov. 16, 2020
       Jones Day                                      $640,809.81          $10,725.56        $20,000.00           $0.00      $620,809.81      $10,725.56
                             ECF No. 1968
 Skadden, Arps,
     Slate,                  Nov. 13, 2020
                                                    $7,384,885.33           $2,974.45        $76,506.95           $0.00     $7,308,378.38      $2,974.45
 Meagher & Flom              ECF No. 1945
      LLP
                             Nov. 16, 2020
      Dechert LLP                                   $3,706,616.10         $612,547.92        $39,765.75           $0.00     $3,666,850.35    $612,547.92
                             ECF No. 1959
  Wilmer Cutler             Nov. 16, 2020
Pickering Hale and          ECF Nos. 1969             $50,256.674               $244.56      $14,614.47           $0.00       $35,642.20         $244.56
    Dorr LLP                  and 2051
                             Nov. 16, 2020
Ernst & Young LLP                                      $93,500.00               $600.00           $0.00           $0.00       $93,500.00         $600.00
                             ECF No. 1980

                                                    Official Committee of Unsecured Creditors’ Professionals

   Akin Gump
    Strauss                  Nov. 16, 2020
                                                   $22,112,857.50       $1,358,212.79       $104,373.25       $12,528.06   $22,008,484.25   $1,345,684.73
  Hauer & Feld               ECF No. 1983
      LLP
  Bedell Cristin             Nov. 16, 2020
                                                      $187,054.04           $1,340.70        $12,720.00           $0.00      $174,334.04       $1,340.70
Jersey Partnership           ECF No. 1976



  4
      Reflects the amount sought in the original Application at ECF No. 1969.
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                                               Fees Requested         Expenses            Agreed              Agreed                         Expenses
                        Date and Docket                                                                                  Fees Allowed for
                                                  on Third          Requested on       Recommended         Recommended                      Allowed for
     Applicant            Number of                                                                                       Third Interim
                                                Interim Fee         Third Interim       Reduction of        Reduction of                   Third Interim
                          Application                                                                                    Fee Application
                                                Application        Fee Application         Fees2             Expenses 2                   Fee Application
                         Nov. 16, 2020
Cole Schotz P.C.                                 $7,763,784.50              $292.14         $37,092.53                $0.00      $7,726,691.97             $292.14
                         ECF No. 1978
                         Nov. 16, 2020
 Jefferies LLC                                     $900,000.00          $34,850.00                $0.00               $0.00        $900,000.00          $34,850.00
                         ECF No. 1979
Kurtzman Carson          Nov. 16, 2020
                                                   $245,204.44         $23,802.615                $0.00               $0.00        $245,204.44          $23,802.61
Consultants LLC          ECF No. 1981
                         Nov. 16, 2020
 Province, Inc.                                  $5,797,712.00            $7,328.61           $8,156.70               $0.00      $5,789,555.30            $7,328.61
                         ECF No. 1982
                         Nov. 16, 2020
 Bayard, P.A.6                                   $1,182,574.50            $8,304.38         $19,752.88              $471.01      $1,162,821.62            $7,833.37
                         ECF No. 1984

                            Ad Hoc Committee of Governmental and Other Contingent Litigation Claimants’ Professionals

Brown Rudnick            Nov. 16, 2020
                                                   $568,187.50          $19,156.20            $2,937.90               $0.00        $565,249.60          $19,156.20
    LLP                  ECF No. 1973
                         Nov. 16, 2020
Otterbourg, P.C.                                   $682,293.50            $2,091.13         $13,162.65                $0.00        $669,130.85           $2,091.13
                         ECF No. 1990
                         Nov. 16, 2020
 FTI Consulting                                  $1,440,367.00              $205.15         $10,000.00                $0.00      $1,430,367.00             $205.15
                         ECF No. 1988
                         Nov. 16, 2020
     Gilbert LLP                                 $1,062,892.00            $9,305.17         $30,962.30                $0.00      $1,031,929.70           $9,305.17
                         ECF No. 1989

 5
   This amount includes $647.56 in sales tax.
 6
   The fee application filed by Bayard, P.A. was a final application covering fees and expenses for the period of September 29, 2019 through July 15, 2020. The
 fees and expenses included herein for Bayard, P.A. are approved on an interim basis, subject to final approval.
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                                         Fees Requested       Expenses          Agreed          Agreed                         Expenses
                     Date and Docket                                                                       Fees Allowed for
                                            on Third        Requested on     Recommended     Recommended                      Allowed for
   Applicant           Number of                                                                            Third Interim
                                          Interim Fee       Third Interim     Reduction of    Reduction of                   Third Interim
                       Application                                                                         Fee Application
                                          Application      Fee Application       Fees2         Expenses 2                   Fee Application
 Kramer Levin         Nov. 17, 2020
  Naftalis &                               $1,698,836.50       $69,971.34       $30,000.00           $0.00    $1,668,836.50      $69,971.34
 Frankel LLP          ECF No. 1996

                       Oct. 6, 2020
Houlihan Lokey        ECF No. 1778;
                                           $1,800,000.00       $29,494.41            $0.00        $1,739.08   $1,800,000.00      $27,755.33
 Capital, Inc.        Nov. 16, 2020
                      ECF No. 1991

                                                                Fee Examiner

Bielli & Klauder,     Nov. 16, 2020
                                             $220,000.00            $0.00            $0.00           $0.00      $220,000.00          $0.00
       LLC            ECF No. 1964
                                Date Order Signed: 12/16/2020                         Initials: RDD USBJ
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                                                                        Schedule B

                                      Interim Fee Applications: Petition Date through September 30, 2020

Case No: 19-23649 (RDD)
Case Name: In re Purdue Pharma L.P., et al.

                                                    Total Fees                                 Total Expenses           Total Expenses
                            Applicant                                   Total Fees Paid7
                                                    Requested                                    Requested                  Paid7

                                                                    Debtors’ Professionals

                          PJT Partners LP              $2,820,000.00          $2,820,000.00           $103,035.25            $101,954.98

                            Cornerstone
                                                       $1,958,372.00          $1,936,455.65                 $591.47              $591.47
                             Research
                          Davis Polk &
                                                      $74,301,636.05        $74,046,879.35            $541,333.42            $540,737.71
                          Wardwell LLP

                        AlixPartners, LLP             $17,286,114.50        $17,201,613.37            $438,636.57            $402,821.89

                      Arnold & Porter Kaye
                                                       $1,671,565.03          $1,639,665.50                 $649.25              $649.25
                          Scholer LLP

                      King & Spalding LLP             $17,004,713.67        $16,966,696.23                 $4,013.75           $3,925.03

                          Wilmer Cutler
                            Pickering                    $793,766.48             756,604.71                $6,190.74           $6,190.74
                        Hale and Dorr LLP

                           KPMG LLP8                   $3,231,815.55          $3,178,315.55                $1,207.15           $1,207.15


7
    Includes amounts to be paid pursuant to this Order.
8
    KPMG LLP has been jointly retained by the Debtors and the Official Committee of Unsecured Creditors.
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                            Total Fees                              Total Expenses       Total Expenses
     Applicant                                 Total Fees Paid7
                            Requested                                 Requested              Paid7

     Jones Day                 $2,443,324.81        $2,392,758.56          $62,970.47          $62,970.47

 Skadden, Arps,
     Slate,
                             $16,330,201.91        $16,117,468.37          $48,415.06          $48,270.60
 Meagher & Flom
      LLP

   Dechert LLP               $12,393,918.96        $12,337,180.56       $1,836,819.03        $1,835,251.44

  Ernst & Young                 $888,500.00          $888,500.00           $33,134.18          $33,134.18

                        Official Committee of Unsecured Creditors’ Professionals

Akin Gump Strauss
                             $49,514,581.50        $49,131,534.82       $1,759,991.82        $1,745,446.44
Hauer & Feld LLP
Bedell Cristin Jersey
                                $217,342.04          $201,338.74            $1,340.70           $1,340.70
    Partnership

 Cole Schotz P.C.            $10,299,035.00        $10,258,722.97            $602.64              $602.64

   Jefferies LLC               $2,700,000.00        $2,700,000.00        $146,018.43          $144,820.10

 Kurtzman Carson
                                $478,148.72          $477,451.89           $54,423.50          $46,661.36
 Consultants LLC

   Province, Inc.            $15,200,146.00        $15,149,182.55          $46,711.44          $41,731.26

   Bayard, P.A.                $2,133,135.50        $2,113,382.62          $16,019.72          $15,548.71
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                                           Total Fees                                Total Expenses       Total Expenses
                     Applicant                                  Total Fees Paid7
                                           Requested                                   Requested              Paid7

                    Ad Hoc Committee of Governmental and Other Contingent Litigation Claimants’ Professionals

                Brown Rudnick LLP               $2,477,764.50        $2,436,365.65          $37,390.09          $37,390.09

                  Otterbourg, P.C.              $2,707,898.25        $2,672,080.85          $47,500.87          $45,742.10
                                                $6,532,054.50        $6,474,554.50          $27,866.04          $27,866.04
                   FTI Consulting

                    Gilbert LLP                 $3,088,496.75        $3,034,879.70          $54,714.91          $52,956.14

                  Kramer Levin
                 Naftalis & Frankel             $5,902,843.25        $5,843,203.00        $210,138.27          $209,350.81
                        LLP
                  Houlihan Lokey
                                                $1,800,000.00        $1,800,000.00          $29,494.41          $27,755.33
                   Capital, Inc.

                                                                Fee Examiner

                  Bielli & Klauder,
                                                 $303,375.00          $303,375.00              $0.00                $0.00
                         LLC
Date Order Signed: 12/16/2020           Initials: RDD USBJ
